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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                                                   10/20/2020
WINNERS INDUSTRY CO. LTD.,

                                   Appellant,                             ORDER

                 - against -                                              19 Civ. 10231 (NSR)

SEARS HOLDINGS CORPORATION,

                                   Appellee.

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Román, D.J.:

                 The Court having been advised that the parties have reached an agreement in

principle to resolve the claims that are the subject of this appeal from the United States Bankruptcy

Court for the Southern District of New York currently before the Court, it is

                 ORDERED, that the above-entitled appeal be and hereby is discontinued, without

costs to either party, subject to reopening should the settlement not be consummated within ninety

(90) days of the date hereof.

                 The parties are advised that if they wish the Court to retain jurisdiction in this matter

for purposes of enforcing any settlement agreement, they must submit the settlement agreement to

the Court within the next 90 days with a request that the agreement be “so ordered” by the Court.



SO ORDERED.



Dated:           White Plains, New York
                 October 20, 2020



                                                                          Nelson S. Román, U.S.D.J.
